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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                                                           FILED BY     , ~Al             D.C.

                                  CASE NO. 22-MJ-8332-BER                         ~AUG 2 6 2022
                                                                                   ANGELA E. NOBLE
                                                                                  CLERK U.S. DIST. CT.
                                                                                     . OF FLA. - W.P.8.
   IN RE SEALED SEARCH WARRANT                              FILED

   ______________ /
       MOTION TO SEAL NOTICE OF FILING OF REDACTED MEMORANDUM

          The United States of America moves the Court to place under seal, until further

   order of the Court, the Notice of Filing of Redacted Memorandum, and the attachment to

   that notice, filed on August 26, 2022. In support of the Motion, the government states:

          1.     Courts have inherent power to control access to papers filed with the courts.

   Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978). Courts have traditionally

   been "highly deferential to the government's determination that a given investigation

   requires secrecy and that warrant materials be kept under seal." Times Mirror Co. v. United

   States, 873 F .2d 1210 (9th Cir. 1989). Therefore, courts have routinely granted government

   requests to seal warrant materials where there is a need for secrecy. See Washington Post v.

   Robinson, 935 F.2d 282, 289 (D.C. Cir. 1991).

          2.     The Notice contains a redacted version of the ex parte memorandum that this

   Court ordered the government to submit on August 18, 2022, see (DESO), and which the

   Court permitted the government to file under seal on August 25, 2022, see (DE88; DE89).

   Because the umedacted original version of the memorandum is subject to the Court's earlier

   sealing order, the government respectfully requests that the Court seal the Notice of Filing
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   of Redacted Memorandum and the accompanying attachment, pending further order of the

    Court.

             3.    In the interest of transparency, as well as the principle that limitations on

   public access to judicial proceedings should be "narrowly tailored," Globe Newspaper Co. v.

   Superior Court, 457 U.S. 596, 607 (1982) , the government will move at the appropriate time

   to unseal this notice and the redacted version of its Ex Parte Memorandum.

                                          CONCLUSION

             WHEREFORE, for these reasons, the United States of America respectfully requests

   that the Court issue an Order sealing the Notice of Filing of Redacted Memorandum and its

   accompanying attachment.




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       Dated: August 26, 2022                  Respectfully submitted,



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